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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


IN RE SUBPOENAS TO ADAM KINCAID AND          Miscellaneous Action
THE NATIONAL REPUBLICAN REDISTRICTING        No. 1:22-mc-67 (JEB) (RMM)
TRUST



THE LEAGUE OF UNITED LATIN AMERICAN
CITIZENS (LULAC), et al.,

                  Plaintiffs,                 Underlying Action
                                              No. 3:21-cv-00259 (DCG-JES-JVB)
            v.                               (W.D. Tex.)

GREG ABBOTT, et al.,

                  Defendants.




UNITED STATES’ MEMORANDUM IN OPPOSITION TO ADAM KINCAID’S AND
THE NATIONAL REPUBLICAN REDISTRICTING TRUST’S MOTIONS TO QUASH
                  AND FOR PROTECTIVE ORDERS
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                                       INTRODUCTION

       The National Republican Redistricting Trust (NRRT) and its President and Executive

Director, Adam Kincaid, were key players in Texas’ 2021 redistricting process. They were not

merely informal consultants, lobbyists, or groups with a heightened interest in the outcome.

Instead, the NRRT provided “map-drawing and redistricting consulting services” in connection

with Texas’ redistricting, via a law firm (The Gober Group) engaged by several members of the

Texas delegation to the U.S. House of Representatives. See Kincaid Mot., ECF No. 1; see also

Kincaid Decl. ¶¶ 6-7, ECF No. 1-2. Ultimately, the NRRT—and Mr. Kincaid specifically—held

the pen used to draw lines across Texas that were adopted in substantial part in the State’s 2021

Congressional plan.

       Mr. Kincaid nonetheless asks this Court to quash a deposition exploring his role in

relation to consolidated constitutional and Voting Rights Act challenges to Texas’ 2021

Congressional plan, and NRRT asks the Court for a protective order limiting the scope of its

deposition. Those requests should be rejected. Mr. Kincaid has firsthand knowledge that is not

coterminous with the testimony of NRRT’s Rule 30(b)(6) representative relevant to the question

whether Texas’ redistricting maps have a discriminatory purpose or result. Moreover, none of

the anticipated assertions of privileges raised in Mr. Kincaid’s motion should stand as an

obstacle to Mr. Kincaid’s or NRRT’s depositions. And First Amendment and trade secrets

privileges do not bar NRRT’s testimony. The motions should be denied.

                                        BACKGROUND

       On December 6, 2021, the United States filed a Voting Rights Act enforcement action

challenging Texas’ 2021 Congressional and State House redistricting plans. See U.S. Compl.,

United States v. Texas, No. 3:21-cv-299 (W.D. Tex. Dec. 6, 2021), ECF No. 1; see also U.S.



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Am. Compl., LULAC v. Abbott, No. 3:21-cv-259 (W.D. Tex. June 6, 2022), ECF No. 318.

Relevant to this matter, the United States specifically alleges that the 2021 Texas Congressional

plan has a discriminatory purpose and discriminatory result. See U.S. Am. Compl. ¶¶ 197-199.

The United States’ claims have been consolidated with other actions, including the lead case

brought by the League of United Latin American Citizens (LULAC). See Order Consolidating

Case, LULAC v. Abbott, No. 3:21-cv-259 (W.D. Tex.), ECF No. 83.

       In the course of fact discovery, LULAC (represented by MALDEF) issued a Rule

30(b)(6) deposition subpoena to NRRT and an individual-capacity deposition subpoena to its

Executive Director, Adam Kincaid.1 See Kincaid Decl. ¶¶ 2-4. The United States plans to

participate in those depositions. NRRT became involved in Texas redistricting through a

contract to provide Legal Support Services to The Gober Group in its representation of several

members of the Texas Congressional delegation in connection with Texas’ decennial

redistricting.2 See NRRT Contract, ECF No. 1-19; Kincaid Decl. ¶ 6. Chris Gober, Managing

Partner of The Gober Group, testified at his July 12, 2022 deposition that he “chose to use Mr.

Kincaid” as the person with the “technical expertise” to “personally use redistricting software”

and that “Mr. Kincaid drew maps at [his] direction on behalf of [his] clients.” Gober Tr. at

52:15-53:4 (July 12, 2022) (Ex. 1). Mr. Gober further testified that Mr. Kincaid “had the mouse”

when drawing Congressional maps. Gober Tr. at 52:15-18. According to Mr. Gober, “Mr.

Kincaid and NRRT” created maps with him in “mutual agreement, [with] them as our



1
 This Memorandum uses the party name, which is functionally identical to Mr. Kincaid’s and
NRRT’s references to “MALDEF.”
2
  The Gober Group is a law firm that describes itself as having “unique expertise navigating the
intersection of business, law, politics and, of course, relationships,” and assisting clients with
“achieving a strategic public policy objective, navigating a ‘bet the company’ issue, or
competing at the ballot box.” See The Gober Group, Expertise, https://perma.cc/D3VV-MR7V.
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subcontractor.” Gober Tr. 55:12-17. The maps were “created by Mr. Kincaid and NRRT . . . to

be presented to the [] State Legislature,” Gober Tr. 55:13-17 (Ex. 8), and “to show a lot of the

objectives of [Gober’s] clients,” Gober Tr. at 55:25-56:1. After gaining the consent of Mr.

Gober’s clients in the Congressional delegation, the maps were transmitted as “unified maps” to

the State Senate and State House, Gober Tr. 56:1-10, and “[t]he charge would be change this to

the extent that it is necessary to comply with the Voting Rights Act, but try to respect these lines

as much as you can because this is what the current Members of the delegation desire,” Gober

Tr. 57:8-12. Mr. Gober also testified that Mr. Kincaid provided non-legal analysis,3 Gober Tr.

53:19-54:3, and that Mr. Kincaid would have knowledge of what data were available for

redistricting purposes, Gober Tr. 254:21-255:4.

         The United States plans to participate in the depositions of NRRT and Mr. Kincaid

pursuant to the subpoena by LULAC, and has participated in the meet and confer process

between the parties, NRRT, and Mr. Kincaid. The depositions were scheduled to occur on July

13 (but did not due to the filing of the instant motions), and fact discovery closed on July

15. Motions for summary judgment in LULAC v. Abbott are due on August 5, and oppositions to

those motions are due on August 19. Trial is scheduled to begin on September 28.

                                      LEGAL STANDARD

         In general, “[p]arties may obtain discovery regarding any nonprivileged matter that is

relevant to any party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ.

P. 26(b)(1). Relevance is broadly construed. See, e.g., Washington v. Thurgood Marshall Acad.,

230 F.R.D. 18, 21 (D.D.C. 2005).




3
    Mr. Kincaid is not an attorney. See Gober Tr. 53:21-22.
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          A court may order limitations on discovery for good cause to “protect a party or person

from annoyance, embarrassment, oppression, or undue burden or expense,” Fed. R. Civ. P.

26(c)(1), and a Rule 45 subpoena may be quashed or modified if it “subject[s] a person to undue

burden,” Fed. R. Civ. P. 45(d)(3)(A)(iv). “The quashing of a subpoena is an extraordinary

measure, and is usually inappropriate absent extraordinary circumstances.” Flanagan v.

Wyndham Int’l Inc., 231 F.R.D. 98, 102 (D.D.C. 2005).

          “The party requesting a protective order must make a specific demonstration of facts in

support of the request as opposed to conclusory or speculative statements about the need for a

protective order and the harm which will be suffered without one.” Huthnance v. District of

Columbia, 255 F.R.D. 285, 296 (D.D.C. 2008) (quoting Fonville v. District of Columbia, 230

F.R.D. 38, 40 (D.D.C. 2005)) (alteration omitted). “The moving party has a heavy burden of

showing ‘extraordinary circumstances’ based on ‘specific facts’ that would justify such an

order.” Alexander v. F.B.I., 186 F.R.D. 71, 75 (D.D.C. 1998) (alteration omitted).

                                            ARGUMENT

I.        Plaintiffs May Take a Rule 30(b)(1) Deposition of Mr. Kincaid and Rule 30(b)(6)
          Deposition of NRRT.

     A.      NRRT’s Designation of Mr. Kincaid as Its Rule 30(b)(6) Representative Did Not
             Defeat the Need for Mr. Kincaid’s Individual Testimony.

          Mr. Kincaid is incorrect to equate his testimony in an individual-capacity deposition to

that of NRRT’s Rule 30(b)(6) designee. Mr. Kincaid speculates that any questions that could be

asked of him in an individual capacity would “necessarily be covered” in the Rule 30(b)(6)

deposition of NRRT, for which NRRT has designated him as its representative. Kincaid Mot. at

9. This argument fails to recognize the substantially different scope, purpose, and effect of an

individual-capacity deposition under Rule 30(b)(1) and the deposition of a designated corporate



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representative under Rule 30(b)(6). It assumes, without a factual basis, that the questions posed

to Mr. Kincaid on these topics would be identical. And it elides the distinction between the

questions or topics “covered” in a deposition and the responses a witness may give as their sworn

testimony based on whether they are speaking on behalf of an entity or in their individual

capacity. Mr. Kincaid’s motion to quash should be denied.

       The scope and purposes of a Rule 30(b)(6) deposition and an individual-capacity

deposition are distinct. “It is well settled that a witness appearing pursuant to a Rule 30(b)(6)

notice has a unique status and testifies as the entity, not as an individual,” making a Rule

30(b)(6) deposition “substantially different from a witness’s deposition as an individual.”

Twentieth Century Fox Film Corp. v. Marvel Enters., Inc., No. 01-cv-3016, 2002 WL 1835439,

at *2 (S.D.N.Y. Aug. 8, 2002) (internal citation and quotation marks omitted). Unlike an

individual’s deposition, “30(b)(6) witnesses . . . are not expected to base their testimony on

matters entirely within their personal knowledge.” Buie v. District of Columbia, 327 F.R.D. 1, 8

(D.D.C. 2018). On the other hand, individual knowledge, and personal intent, experience, and

actions, are of particular import to this matter, in which LULAC and the United States allege that

the 2021 Texas Congressional plan is intentionally discriminatory against minority voters. See,

e.g., Texas v. United States, 887 F. Supp. 2d 133, 161 n.32 (D.D.C. 2012) (three-judge court)

(describing “potential discriminatory intent in the selective drawing of [Congressional District]

23”), vacated and remanded, 570 U.S. 928 (2013); id. at 178 (“[T]he incredible testimony of the

lead House mapdrawer reinforces evidence suggesting mapdrawers cracked [precincts] along

racial lines to dilute minority voting power.”).

       Precisely because Rule 30(b)(1) and Rule 30(b)(6) depositions are substantially different,

“with good reason, courts have rejected the argument that a Rule 30(b)(6) deposition is



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unnecessary or cumulative simply because individual deponents—usually former or current

employees of the entity whose Rule 30(b)(6) deposition is sought—have already testified about

the topics noticed in the Rule 30(b)(6) deposition notice.” Louisiana Pac. Corp. v. Money Mkt. 1

Institutional Inv. Dealer, 285 F.R.D. 481, 487 (N.D. Cal. 2012); see also, e.g., Appleton Papers

Inc. v. George A. Whiting Paper Co., No. 08-cv-16, 2009 WL 2870622, at *2 (E.D. Wis. Sep. 2,

2009); Alfadda v. Fenn, 149 F.R.D. 28, 30 (S.D.N.Y. 1993). This distinction is no less

applicable where the entity designates as its representative an individual already subpoenaed as a

fact witness—indeed, collapsing the distinction in that circumstance would create “substantial

potential for over-reaching,” including that “any entity that wanted to limit the testimony of an

individual could accomplish that goal by designating the individual as a 30(b)(6) witness.”

Sabre v. First Dominion Cap., LLC, No. 01-cv-2145, 2001 WL 1590544, at *1 (S.D.N.Y. Dec.

12, 2001); see also, e.g., Cincinnati Ins. Co. v. Desert State Life Mgmt., No. 18-cv-981, 2020 WL

5369061, at *5 (D.N.M. Sept. 8, 2020). NRRT and Mr. Kincaid have not identified any decision

providing the relief they seek, much less where the individual subpoenaed was such an

instrumental player in the underlying facts.

       Because NRRT elected to designate Mr. Kincaid as its representative, LULAC and the

United States have also made significant efforts to minimize the burden on Mr. Kincaid and

streamline the two depositions, including offering to conduct both in a single day. See Kincaid

Mot. at 3.4 That offer stands. Thus, LULAC and the United States have every incentive not to

repeat or rehash questions that were fully answered during an earlier deposition. In other words,

Mr. Kincaid’s stated concern that his deposition will be wholly duplicative of NRRT’s


4
  NRRT was not obligated to name Mr. Kincaid as its Rule 30(b)(6) designee, and LULAC and
the United States had no guarantee that they could secure Mr. Kincaid’s relevant testimony based
on a subpoena to NRRT alone.

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deposition rests on the assumption that plaintiffs would take a deposition in a manner contrary to

their own interests. This does not warrant prospectively quashing Mr. Kincaid’s deposition in its

entirety.

          The Federal Rules of Civil Procedure do not put parties to the choice of having a key

witness testify as either an entity representative or in an individual capacity. The Court should

deny Mr. Kincaid’s attempt to do so by other means.

    B.       There Is No Basis to Limit Plaintiffs’ Ability to Question Mr. Kincaid
             Prospectively.

          Mr. Kincaid further requests “that the scope of his deposition be limited to the Topics

provided in [LULAC]’s 30(b)(6) notice to NRRT,” effectively conceding that the two subpoenas

are not redundant. Kincaid Mot. at 12. That request should also be rejected. Mr. Kincaid

speculates that there is a “possibility of ‘annoyance, embarrassment, and oppression’” if the

topics are not so limited, Kincaid Mot. at 12 (alteration omitted), suggesting without a factual

basis that LULAC and the United States “will attempt to delve into irrelevant matters in an effort

to malign him.” Id. But Mr. Kincaid does not explain why topics beyond the scope of the

NRRT subpoena will be uniformly oppressive, and the prospective limitation on discovery he

proposes is inconsistent with the “liberal” pretrial discovery provided for in the Federal Rules,

including for third parties. See, e.g., FTC v. Sysco Corp., 308 F.R.D. 19, 23 (D.D.C. 2015); see

also Seattle Times Co. v. Rhinehart, 467 U.S. 20, 30 (1984).

          Mr. Kincaid’s arguments do not carry his burden to make the “specific demonstration of

facts” showing the need for a protective order, most notably the harm that would be suffered

without placing strict prospective limits on the scope of questioning. Instead, he speculates that

having to testify about “redistricting efforts in states other than Texas” could “malign him,” and

suggests that “it is possible these types of questions would be designed to improperly seek

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information that could be relevant to other redistricting cases outside of Texas.” Kincaid Mot. at

12 (emphasis added). Speaking only in possibilities, Mr. Kincaid effectively concedes that he

has no concrete basis to accuse LULAC and the United States of seeking his deposition or

raising any potential line of inquiry for an improper purpose. Nor does he explain why his

truthful testimony about redistricting matters would “malign him.” The mere specter of

hypothetical future discovery excesses does not warrant prospective limitations. See, e.g.,

Alexander, 186 F.R.D. at 75.

       Even Mr. Kincaid’s hypothetical example of questions that touch upon redistricting in

states other than Texas demonstrates the inappropriateness of curtailing inquiry before his

deposition has even begun. Questions concerning his prior redistricting experience, his approach

to redistricting, and the considerations he brings to bear on creating redistricting maps could

require broad responses, but that does not make such testimony irrelevant to his work concerning

Texas in 2021.5 LULAC and the United States cannot know in advance what Mr. Kincaid will

testify to, let alone how topics may or may not interconnect, and litigants have a right to probe

such information in a live deposition format. By contrast, a protective order strictly limiting

inquiry into these topics before a single question has been asked would lay a minefield, leading

to disruptive objections any time the response to a question may touch on information extending

beyond the most recent Texas redistricting cycle and potentially obscuring relevant testimony.

No need for such a limitation has been shown.

       To be sure, the United States is not interested in using an individual-capacity deposition

of Mr. Kincaid to rehash questions appropriately asked and answered during his Rule 30(b)(6)


5
 That some of his redistricting experience may have come “outside of his employment at
NRRT,” Mot. at 12, also further demonstrates why quashing Mr. Kincaid’s individual subpoena
and limiting plaintiffs to deposing NRRT’s entity representative is not appropriate.

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deposition or to delve into irrelevant matters. While some general topics may overlap, the

differing nature of the depositions and the different information that plaintiffs can elicit from Mr.

Kincaid at his individual deposition, including inquiry into his broader redistricting experience,

make an individual-capacity deposition of Mr. Kincaid wholly appropriate, and make any

limitations on his deposition to prevent speculative and ill-defined harms unnecessary. The

Court should accordingly deny Mr. Kincaid’s motion.

II.    Hypothetical Assertions of Privilege Are Not Grounds to Quash a Deposition
       Subpoena.

       Mr. Kincaid also incorrectly argues that the potential need to assert privileges on NRRT’s

behalf, or the need to ascertain the scope of the privilege between NRRT and The Gober Group,

requires quashing his deposition subpoena entirely or delaying his deposition until any

hypothetical disputes about that privilege are resolved. Now that the deposition of The Gober

Group’s Managing Partner Chris Gober is complete as of July 12, the need to ascertain the

boundaries of this privilege (which Mr. Kincaid asserted based on NRRT’s relationship with The

Gober Group) should not stand as an obstacle to Mr. Kincaid’s deposition.6 In any event, Mr.

Kincaid has presented no reason why hypothetical assertions of attorney-client privilege should

bar his deposition, or why he and his counsel would be unable to assert them during the course of

a deposition, as is typical and provided for in the Federal Rules. See Fed. R. Civ. P. 30(c)(2)

(permitting an instruction not to answer when necessary to preserve a privilege). Furthermore,

there is no indication that Mr. Gober provided bona fide legal advice to his clients, rather than

political or policy guidance or lobbying in shaping Texas’s 2021 Congressional redistricting

plan. See, e.g., In re Lindsey, 148 F.3d 1100, 1106 (D.C. Cir. 1998); see also Gober Tr. 55:22-



6
 Mr. Gober did not seek to quash or limit his own deposition on the basis of these assertions of
privilege.
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56:10 (describing delegation of compliance function to state officials); id. at 55:13-17

(explaining that the maps were “created by Mr. Kincaid and NRRT. . . to be presented to the []

State Legislature”); id. at 165:2-15 (describing the provision of “legal advice, but from a . . .

policy perspective”).

       Moreover, to the United States’ understanding, Mr. Kincaid would be represented by the

same counsel at his individual-capacity deposition and as representative for NRRT. He does not

explain why counsel would be adequately equipped to assert NRRT’s privileges at his Rule

30(b)(6) deposition, but the same counsel would not be able to do so as appropriate in his

individual-capacity deposition. Mr. Kincaid’s subpoena should not be quashed or modified

based on the possibility that some questions may implicate assertions of attorney-client privilege.

       III.    The Plaintiffs Should Not Be Barred from Seeking Relevant Information
               from NRRT By a Protective Order.

       NRRT seeks additional and unwarranted protective orders limiting the scope of its

deposition on three further grounds. First, they claim the Rule 30(b)(6) topics notice in NRRT’s

entity deposition “may be read” in a way that is overbroad. Kincaid Mot. at 14. Second, they

claim “communications and activities within the broader NRRT organization outside of Texas”

may be undiscoverable under the First Amendment. Id. at 15. And third, they claim such

information is protected from disclosure as “trade secrets.” Id. at 15, 17. They have not carried

their burden to show a protective order is necessary on any of these grounds.

       A. The Rule 30(b)(6) Topics Noticed to NRRT Are Not Overbroad.

       In the first instance, while NRRT suggests that multiple Rule 30(b)(6) topics are

overbroad, it does not identify which ones it is challenging or the reasons why it believes they

are overbroad or require limiting to be relevant, with one exception. To the extent NRRT has not




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identified which topics it is challenging or the reasons they are overbroad, the Court should deny

the motion for a protective order.

        The only topic that NRRT specifically challenges is Topic 2, which calls for:

        Research, evaluation, or analysis conducted by NRRT related to the characteristics
        (demographic, political, or otherwise) of voters in Texas or voters moved into or
        out of any district for Texas House of Representatives, Texas Senate, Texas State
        Board of Education, or Texas seats in the U.S. House of Representatives in any
        redistricting proposals seen by NRRT between January 1, 2021 and October 25,
        2021.

NRRT’s objection appears to be to the use of the phrase “related to,” based on the notion that

this phrase “arguably negates the tailoring of the remaining Topic” and potentially extends its

reach to information “only tangentially related to Texas.” Kincaid Mot. at 15. But the topic on

its face does not extend beyond Texas. And NRRT does not identify, even in broad terms, what

type of research or analysis it has done that is “tangentially related to” Texas but not sufficiently

“related to” Texas to fall within the scope of a proper Rule 30(b)(6) notice. The clarity of this

topic stands in stark contrast to Stewart v. Mitchell Transportation, No. 01-cv-2546, 2002 WL

1558210 (D. Kan. July 11, 2022), on which NRRT relies, which quashed in part a document

subpoena that called for “all information” and “all documents” regarding the issuing party. See

id. at *7. And even there, the court quashed the subpoena only where it extended beyond

“discrete documents.” Id. at *4. Fundamentally, it requires no “mental gymnastics” to

determine what types of research and analyses Topic 2 calls for here. Cf. id. There is no need

for a protective order in light of this clearly described topic calling for facially relevant

information.7



7
  To the extent NRRT intends to challenge other topics as insufficiently relevant to Texas
redistricting, its objection is similarly answered by the face of the topics, each of which pertains
directly to Texas redistricting: to the creation of Texas’ redistricting maps (Topics 1-2), strategy


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       B. The First Amendment Does Not Prevent Inquiry into NRRT’s Redistricting-
          Related Communications.

       NRRT next argues that the First Amendment bars inquiry into “communications within

NRRT and between NRRT and the Republican Party, its state affiliates, and other aligned

entities and individuals.” Kincaid Mot. at 16. The core of the First Amendment privilege is that

“[e]ffective advocacy of both public and private points of view, particularly controversial ones,

is undeniably enhanced by group association.” NAACP v. Alabama, 357 U.S. 449, 460 (1958).

Such claims are evaluated under a balancing test: if the party asserting the privilege has made a

prima facie showing that disclosure would implicate its First Amendment associational rights,

Perry v. Schwarzenegger, 591 F.3d 1147, 1164-65 (9th Cir. 2010), courts “balance the burdens

imposed on individuals and associations against the significance of the government interest in

disclosure and consider the degree to which the government has tailored the disclosure

requirement to serve its interests.” Am. Fed’n of Lab. & Cong. of Indus. Organizations v. Fed.

Election Comm’n, 333 F.3d 168, 176 (D.C. Cir. 2003); see also, e.g., Perry, 591 F.3d at 1164-

65.8 Here, that inquiry reveals that a protective order is not warranted.



around Texas redistricting (Topic 3), specific named Texas redistricting plans (Topics 3-7), the
release of 2020 census data to Texas and use of that data for redistricting (Topic 8),
communications with Texas officials (Topic 9), and NRRT’s document retention policy (Topic
10).
8
  NRRT and Mr. Kincaid rely primarily on Black Panther Party v. Smith, 661 F.2d 1243 (D.C.
Cir. 1981), which was subsequently vacated, 458 U.S. 1118 (1982) (mem.). While the reasoning
in Black Panther Party has not been explicitly “rejected or abandoned,” Int’l Action Center v.
United States, 207 F.R.D. 1, 3 n.6 (D.D.C. 2002), the D.C. Circuit’s more recent decision
regarding compelled disclosure of political affiliations in AFL-CIO v. FEC, 333 F.3d 168, 175-
79 (D.C. Cir. 2003), neither cited Black Panther Party nor explicitly adopted its framework. In
light of the somewhat unsettled law in this circuit and the fact that this is a civil discovery
subpoena as opposed to a criminal or regulatory investigation, the United States cites Perry,
which is generally consistent with both Black Panther Party and AFL-CIO, as well as the
approach of other circuits, see Brock v. Local 375, Plumbers Int’l Union of Am., AFL-CIO, 860
F.2d 346, 350 n.1 (9th Cir. 1988) (collecting cases). But see Ohio A. Philip Randolph Inst. v.


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        In the first instance, it is doubtful that NRRT has made “a prima facie showing of

arguable First Amendment infringement,” United States v. Trader’s State Bank, 695 F.2d 1132,

1133 (9th Cir. 1983). “This prima facie showing requires [the subpoena recipient] to

demonstrate that enforcement of the subpoenas will result in (1) harassment, membership

withdrawal, or discouragement of new members, or (2) other consequences which objectively

suggest an impact on, or ‘chilling’ of, the members’ associational rights.” Brock v. Loc. 375,

Plumbers Int’l Union of Am., AFL-CIO, 860 F.2d 346, 350 (9th Cir. 1988). This typically

requires “objective and articulable facts, which go beyond broad allegations or subjective fears.”

Id. at 350 n.1.

        NRRT does not raise any allegations or point to any factual basis to believe it risks

harassment, membership withdrawal, or discouragement of new members if it is not shielded

from deposition questions, and proceeds entirely under the second prong of “other

consequences” chilling its associational rights. But it raises no “concrete facts” demonstrating

why its associational rights would be chilled. Rather, Mr. Kincaid’s declaration makes only the

conclusory assertions that answering deposition questions would “drastically and adversely

affect how [he] communicat[es] internally in the future,” and “have a deleterious impact on the

functioning of NRRT as well, and would deter full and honest discussions between NRRT and

other aligned organizations and individuals.” Kincaid Decl. ¶ 11. Neither Mr. Kincaid nor any

other source explains why answering deposition questions in this case would have these claimed

effects, nor does anything in the record connect these predicted adverse impacts to a chill on




Householder, No. 1:18-cv-357, 2019 WL 3288170, at *3 (S.D. Ohio Jan. 30, 2019), vacated as
moot, 802 F. App’x 185 (6th Cir. 2020) (describing Perry as “more rigid” than Black Panther
Party). The balancing framework is appropriate, but the First Amendment should not prevent or
limit Mr. Kincaid’s deposition here under any conceivable test.
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associational rights from answering deposition questions. The lack of a demonstration that the

described chill arises from a reluctance, fear, or inability to exercise associational rights

precludes finding even an “insubstantial” assertion of First Amendment rights. See In re Motor

Fuel Temperature Sales Practices Litig., 641 F.3d 470, 479 (10th Cir. 2011) (“[T]he First

Amendment privilege generally guarantees the right to maintain private associations when,

without that privacy, there is a chance that there may be no association and, consequently, no

expression of the ideas that association helps to foster.”) (emphasis added).

       To the extent NRRT seeks to protect not just its own internal communications but also

communications with “the Republican Party, its state affiliates, and other aligned entities and

individuals,” that request should independently be rejected because, except for arguably the

Republican Party, Kincaid Decl. ¶ 9, NRRT has made no demonstration of its association with

these entities. And Mr. Kincaid’s declaration does not describe the nature of NRRT’s

association with these entities or the extent of their relationship. Indeed, an open-ended

protective order preventing inquiry into NRRT’s communications with “other aligned entities

and individuals” leaves undefined who those entities and individuals might be, how and why

they associate with NRRT, and how any protective order applying to those individuals might be

applied in practice.

       Even if NRRT has made a prima facie case that certain aspects of the Rule 30(b)(6)

subpoena could arguably implicate its associational rights, it has demonstrated only a minimal

impact at most. The core of the First Amendment privilege is that “[e]ffective advocacy of both

public and private points of view, particularly controversial ones, is undeniably enhanced by

group association.” Perry, 591 F.3d at 1159 (9th Cir. 2010) (quoting NAACP v. Alabama, 357

U.S. 449, 460 (1958)). Mr. Kincaid’s declaration does not state that NRRT’s interest in



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maintaining the secrecy of its communications is because of an interest in advocacy; nor does

Mr. Kincaid identify NRRT as an advocacy organization. Instead, Mr. Kincaid identifies

NRRT’s activities as “provid[ing] advice, litigation support, data collection, and data analysis

throughout the 2020 redistricting cycle.” Kincaid Decl. ¶ 9. Underscoring this role, Mr.

Kincaid’s declaration states that NRRT’s involvement in Texas’ redistricting is pursuant to an

agreement to provide support services entered into with The Gober Group, Kincaid Decl. ¶¶ 6-7,

which in turn was engaged by members of Texas’s congressional declaration, see NRRT

Contract, supra. In other words, NRRT is here in its role as a contractual service provider to

political candidates, not as a freestanding expressive organization. See, e.g., Gober Tr. 50:11-18;

55:12-17; see also Sept. 26, 2021 Email from Adam Kincaid to Gail Gitcho and Chris Gober

(Ex. 2) (“Chris [Gober] is representing the Congressional Delegation in Texas and has hired us

as a subcontractor.”).

       This is not a motion asserting the core First Amendment associational interests protected

in prior cases. NRRT does not suggest that otherwise nonpublic membership, supporters, or

donor lists would be exposed, subjecting members to potential retaliation or harassment. Cf.,

e.g., NAACP, 357 U.S. at 462; Brown v. Socialist Workers ’74 Campaign Comm. (Ohio), 459

U.S. 87, 96-97 (1982), AFL-CIO v. FEC, 333 F.3d 168, 176 (D.C. Cir. 2003); Int’l Action

Center, 207 F.R.D. at 2 (subpoena that sought “extraordinary” breadth of information, including

“[t]he political activities of Plaintiffs except” those that occurred in connection with the relevant

events, the identities of persons who “associate[d] with” plaintiffs in connection with political

activities, including “anonymous or non-public ‘members’ or ‘affiliates,’ the identities of

anonymous participants in a political demonstration, and contributor lists and lists of “political

activities or causes supported by Plaintiffs”). Nor does Mr. Kincaid or anyone else associated



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with NRRT assert that their “personal political and moral views” would be newly exposed by

permitting any deposition questions here, or that they would no longer associate with the

organization if the information is disclosed. See Perry, 591 F.3d at 1147, 1163; see also Ohio A.

Philip Randolph Inst. v. Householder, No. 1:18-cv-357, 2019 WL 3288170, at *5 (S.D. Ohio

Jan. 30, 2019) (three-judge court) (“The information likely to be sought . . . differs considerably

from that protected in Perry. Kincaid’s testimony would likely not be so much about substantive

political campaign messaging (the campaign playbook), but instead will likely relate or pertain to

the formulation of the districts in which subsequent campaigns will take place (the setting of the

playing field).”), vacated as moot, 802 F. App’x 185 (6th Cir. 2020).

       Weighed against the asserted First Amendment associational interest, LULAC and the

United States have a substantial need for the challenged discovery. This is a case involving

claims of intentional discrimination in redistricting. Unlike cases where the information sought

is “attenuated” from the core claim, see Perry, 591 F.3d at 1145, here the intent of the

individuals and groups drawing legislative maps is a core issue in the case. See, e.g., Busbee v.

Smith, 549 F. Supp. 494, 500-15 (D.D.C. 1982) (three-judge court), aff’d, 459 U.S. 1166 (1983).

NRRT willingly and voluntarily participated directly in Texas’ redistricting, working as

subcontractors for Texas congresspersons in that process, and Mr. Kincaid was a key player in

drawing Texas’ congressional maps, see supra. NRRT cannot now assert that its activities while

doing so are beyond discovery in this case, particularly where there is no alternative means to

discover NRRT’s explanation of its own intent for particular redistricting choices. Cf., e.g.,

Gober Tr. 58:19-22 (“[Q.] Did Mr. Kincaid or anybody at NRRT communicate directly with a

Member of Congress? A. I cannot testify on behalf of Mr, Kincaid or NRRT as to what

communications may have been made.”).



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       A protective order limiting the scope of NRRT’s deposition is also unwarranted and

unnecessary. As explained above, because NRRT has not shown that its responses to deposition

questions would cause the asserted reluctance to communicate internally because of a

demonstrable impact on its First Amendment associational rights, there are no grounds to limit

the scope of the NRRT deposition based on a First Amendment privilege. And the burden on

any arguable First Amendment rights is limited and insufficient to overcome the need to obtain

discovery from NRRT. Moreover, NRRT has not carried its burden to make a “specific

demonstration of facts,” Huthnance, 255 F.R.D. at 296, that a protective order is needed because

it has not provided any basis to conclude that LULAC or the United States will inquire into the

topics over which it asserts a First Amendment privilege. NRRT’s deposition will already

explore the 30(b)(6) topics that are focused on Texas redistricting, see supra Part III.A; further

limitations are unnecessary.

       The arguments NRRT raises here echo arguments that Mr. Kincaid unsuccessfully

advanced in 2019, during partisan gerrymandering litigation in Ohio. See Ohio A. Philip

Randolph Inst. v. Householder, No. 1:18-cv-357, 2019 WL 3288170, at *1-2 (S.D. Ohio Jan. 30,

2019) (three-judge court) (denying motion to quash deposition and denying in part and granting

in part protective order), vacated as moot, 802 F. App’x 185 (6th Cir. 2020); see also Ohio A.

Philip Randolph Institute v. Smith, 360 F. Supp.3d 681, 687 (S.D. Ohio 2018) (three-judge court)

(describing affidavit stating disclosure of documents would “‘drastically and adversely affect’

how [Mr. Kincaid and other subpoena recipients] communicated in the future”), vacated as moot,

802 F. App’x 185 (6th Cir. 2020). While the relevant orders were ultimately vacated as moot,

the analysis is instructive. In the Ohio litigation, the three-judge court found that Mr. Kincaid

had not shown his testimony would “associate him with an organization with which he



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previously had no public ties,” and that he had “not expressed any concern that his deposition

might subject him to harassment or retaliation—the kinds of chilling effects with which the First

Amendment privilege is primarily concerned.” Householder, 2019 WL 3288170, at *4.

Although the court found his First Amendment interests were “arguably implicated to some

extent” because disclosure of internal communications might “cause him and members of his

organizations to be more cautious about candidly expressing their thoughts and plans,” it

described those interests as “insubstantial,” id. at *6, and largely outweighed by “what exactly is

at issue here: communications and deposition testimony related to the process of and factors

involved in drawing the district lines themselves, which are centrally at issue in this case, not

purely internal communications about a candidate’s campaign strategy and the like,” id. at *5.

Thus, given the need to prove intent in that case and the fact that Mr. Kincaid was “one of the

primary draftsmen of the congressional map,” the court found the interest in disclosure

outweighed any First Amendment interest. Id. at *6 (internal quotation mark omitted).9

       C. NRRT Has Not Identified Protected Trade Secrets.

       Finally, NRRT cannot use the Federal Rules’ grant of authority to this Court to quash or

modify a subpoena to protect a party from disclosing a “trade secret” to avoid answering

deposition questions in this redistricting action. NRRT asserts that “communications and

activities within the broader NRRT organization” may constitute trade secrets under Rule



9
  The Householder court granted in part a protective order to limit the scope of Mr. Kincaid’s
deposition to “center on issues related to proving the various elements of specific claims at issue
in this case—understanding Kincaid and his associates’ roles in designing, drafting, directing,
consulting on, or in any way influencing the congressional district maps in Ohio.” Id. at *7.
However, it also warned the parties “not to parse this limitation too finely.” It cautioned that, for
example, a conversation need not have been “to or about the Ohio state legislative apparatus as
narrowly construed” to be permissible to discover, or that “simply because certain conversations
or mental impressions encompassed efforts involving both Ohio and other states together does
not mean they are not appropriate for exploration at this deposition.” Id.
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45(d)(3)(B)(i). This provision protects from disclosure or dissemination “the type of commercial

information that should not be disclosed to the public.” Albany Molecular Rsch., Inc. v.

Schloemer, 274 F.R.D. 22, 25 (D.D.C. 2011). But redistricting considerations, methods, or

strategies—that is, the drawing of lines that determine the districts in which voters will vote for

their elected representatives—are not “commercial information,” and this argument therefore

fails at the threshold.10 In any event, NRRT has made no showing that answering any

conceivable deposition question would disclose commercial secrets that would “unfairly harm

[its] ability to compete in [a] marketplace” or “unfairly harm [its] financial health.” Id. To the

extent NRRT is asserting that its redistricting activities are somehow proprietary technical or

commercial information, it has made no showing of what the market is or how this information

would be used. Nor has it made any showing why a substantially less restrictive means of

protecting “trade secrets” from public disclosure than fully cutting off discovery into this

information in a constitutional and Voting Rights Act redistricting action—where the other

parties are not alleged to be competitors in a commercial marketplace, no less—would not

suffice.11

                                         CONCLUSION

        For the foregoing reasons, the Court should deny Mr. Kincaid’s and NRRT’s motions to

quash and for protective orders.


10
   To the extent that the NRRT relies on its contract with The Gober Group to suggest a
commercial function, the modest one-time fee for months of technical services is
incommensurate with such value deriving from confidential commercial information. In fact, it
is at best a fig leaf. The NRRT is a political party entity whose staff were fully available to Mr.
Gober and his political clients. See, e.g., Email from Parker Carey, National Republican
Congressional Committee, to Chris Gober et al. (Aug. 13, 2021) (Ex. 3).
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  NRRT’s argument that its redistricting communications are commercial “trade secrets” also
undermines its argument above that this information implicates core First Amendment
associational rights.

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Date: July 26, 2022



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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 26, 2022, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system, which will send notice of this filing to all counsel of
record.


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